       Case 2:20-cr-00143-JCZ-MBN Document 86 Filed 08/26/22 Page 1 of 1

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                  CRIMINAL NO. 20-143
 VERSUS                                                    SECTION "A"
 DONALD PETER AUZINE, JR.                                  VIOLATION: 18:1349, 1347, 1956,
                                                                      1957, 2


                                  RE-NOTICE OF SENTENCING
                                  (previously set for 30/)


Take notice that this criminal proceeding is reset for Sentencing on SEPTEMBER 27, 2022,
at 10: a.m., before Judge Jay C. Zainey, Ctrm C467, 500 Poydras Street, New Orleans, LA.

      IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U. S. MARSHAL IMMEDIATELY OUTSIDE
THE COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

Date: $XJXVW26, 2022                            CAROL L. MICHEL, CLERK
                                                 by: Bridget Gregory, Deputy &OHUN

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TO:

‫ض‬DONALD AUZINE, JR. (bond)                      ‫ ض‬AUSA: Kathryn McHugh
‫ض‬Ralph Whalen, Counsel
                                                 ‫ ض‬U.S. Probation Office

                                                 ‫ ض‬U.S. Probation Office - Pretrial Services Unit

                                                 ‫ ض‬U.S. Marshal

If you change address,                             JUDGE
notify clerk of court by
phone, (504) 589-7683                            ‫ ض‬MAGISTRATE JUDGE

                                                 ‫ ض‬DOD - C. Prieto
